Case 1:19-cv-00012-GBD-SN Document 279 _ Filed 08/24/22 Page1of6

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001:
: AFFIDAVIT OF DENNIS G.
: PANTAZIS IN SUPPORT
: OF APPLICATION FOR
: CERTIFICATE OF DEFAULT
: 1:03 MDL 1570 (GBD)(SN)
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This Document Relates to
Ray, et al. v. Iran, et al.
1:19-ev-00012 (GBD)(SN)

I, DENNIS G. PANTAZIS, counsel for the Ray Plaintiffs, hereby submit this Affidavit in
Support of the Application for Certificate of Default upon ALL Defendants and state, in support
thereof, the following:

I. The Defendants upon which the Ray Plaintiffs seek a default judgment are the
following: (1) Islamic Republic of Iran; (2) Iran’s Ministry of Information and Security; (3)
Islamic Revolutionary Guard Corps; (4) Iran’s Ministry of Petroleum; (5) [ran’s Ministry of
Economic Affairs and Finance; (6) Iran’s Ministry of Commerce; (7) Iran’s Ministry of Defense
and Armed Forces Logistics; (8) Central Bank of the Islamic Republic of Iran; (9) National
Iranian Oil Company; (10) National Iranian Tanker Company; (11) National Iranian Gas
Company; (12) National Iranian Petrochemical Company; (13) Iran Airlines; (14) Hezbollah;
(15) Ayatollah Ali Hoseini-Khamenei; and, (16) the Estate of Ali Akbar Hashemi Rafsanjani,

Deceased.
Case 1:19-cv-00012-GBD-SN Document 279 Filed 08/24/22 Page 2 of 6

Zi None of the aforementioned Defendants are an infant, are serving in the United
States Armed Forces, or are otherwise incompetent or unavailable.

* All of the Ray Defendants have failed to enter an appearance in this Court, and
have not filed any responsive pleading to the Second Amended Complaint filed by the Ray
Plaintiffs, or any other pleading filed by the Ray Plaintiffs, as required by§1608(d) of the Foreign
Sovereign Immunities Act, which governs this cause of action. See 28 U.S.C. §1608(d).

4, The Ray Defendants were afforded greater than sixty (60) days to file responses,
yet did not do so in that time.

Si The Second Amended Complaint, Notice of Suit, Amended Summons, and all
Affidavits / Certifications from the translators were properly served on all Defendants in
accordance with the provisions of the FSIA, by the Clerk of this Court, and through the United
States Postal Service, and then the United States Department of State, via the Foreign Interests
Section of the Embassy of the Swiss Confederation in Tehran, Iran.

6. On August 28, 2019, counsel for the Ray Plaintiffs hand-delivered eight pleadings
packages (one for each Ray Political Subdivision Defendant) to the Foreign Mailings Clerk of
Court for the Southern District of New York, who then dispatched all eight packages provided by
the Ray Plaintiffs to Tehran, Iran via the United States Postal Service pursuant to PSIA
§1608(a)(3). See Ray Docket Nos. 173-179; MDL Docket Nos. 5004, 5005, 5007-09, 5011,
5012.

ah Further, on September 10, 2019, counsel for the Ray Plaintiffs hand-delivered
nine additional service packages (one for each Ray Agency and Instrumentality Defendant, plus a
second service package directed to an alternate address for Ray Defendant, the Central Bank of

Iran) to the Foreign Mailings Clerk of Court for the SDNY, who docketed and then dispatched
Case 1:19-cv-00012-GBD-SN Document 279 _ Filed 08/24/22 Page 3of6

all nine packages provided by the Ray Plaintiffs to Tehran, lran via the United States Postal
Service pursuant to FSIA §1608(b)(3)(B).

8. Clerk’s Certificates of Mailing were entered on the Ray docket on October 4,
2019 and October 11, 2019 certifying that these nine packages were sent by the SDNY Clerk’s
Office on September 18, 2019 by registered U.S. Mail. Ray Docket Nos. 180-189.

9, The initial pleading documents sent to all Ray Defendants by United States Mail
requiring a signed receipt, which were docketed and dispatched by the SDNY Clerk of Court in
August 2019 and early-September 2019 were: (1) separate cover letters; (2) the Second
Amended Complaint, filed in the U.S. District Court for the Southern District of New York,
dated May 6, 2019 (Ray Docket No. 139); (3) a Notice of Suit, pursuant to 22 C.F.R. 93.2, dated
May 10, 2019, along with the text of FSIA, 28 U.S.C. §1602, e¢ seq.; and, (4) Amended
Summons in a Civil Action, dated August 7, 2019. Ray Docket No. 172. Plaintiffs’ hand-
delivery to the Foreign Mailings Clerk of Court for the United States District Court for the
Southern District of New York also included translations of each document into Farsi and
certified affidavits by the translators. /d.

10. The Ray Plaintiffs did not receive any signed receipts for any of their USPS
mailings to Iran.

11. On October 29, 2019, the SDNY Clerk of Court docketed and dispatched eight
pleadings packages to the State Department for diplomatic service on the Ray political
subdivision Defendants pursuant to FSIA §1608(a)(4). See Ray Docket Nos. 191-198; MDL

Docket Nos. 5238-9, 5241-2, 5244-7.
Case 1:19-cv-00012-GBD-SN Document279 _ Filed 08/24/22 Page 4of6

12. This Court has previously issued a Certificate of Default against the Ray political
subdivision Defendants only on February 12, 2020. See Ray Docket 209', See also, notarized
Affidavit of Service on Ray Political Subdivision Defendants by Timothy B. Fleming, Esq.,
dated February 7, 2020, and supporting exhibits attached thereto. Ray Docket No. 204.

13. | Subsequently, the Ray Plaintiffs moved for and obtained letters rogatory to enable
the United States Department of State to serve the Ray “Agency and Instrumentality” Defendants
on October 14, 2020 (Ray Docket No. 228 (Memorandum of Law in Support at Ray Docket No.
229)) and such letters rogatory were issued on November 5, 2020. Ray Docket No. 233,

14, On April 7, 2021, the Ray Plaintiffs moved for a Court Order directing the SDNY
Clerk to docket and dispatch the pleadings materials for the Ray Agency and Instrumentality
Defendants. Ray Docket Nos. 236 and 237 (Memorandum of Law in Support). The Ray
Plaintiffs’ motion was granted on April 20, 2021. Ray Docket No. 238.

15. Therefore, the Affiant respectfully requests that a Certificate of Default be issued

by the Clerk of Court as to ALL Ray Defendants.

FURTHER THE AFFIANT SAYETH NOT.

This Affidavit is comprised of fifteen (15) separately numbered paragraphs.

| On February 2, 2020, due to problems with the ECF system, counsel for the Ray Plaintiffs requested the Court's
permission for to proceed with filings on the Ray docket alone in regard to matters pertaining to obtaining a default
judgment in that case. MDL Docket No. 5886. Magistrate Judge Netburn granted the Ray Plaintiffs’ motion on
February 11,2020, Ray Docket No. 206; MDL Docket No, 5899,
Case 1:19-cv-00012-GBD-SN Document 279 _ Filed 08/24/22 Page5of6

1, DENNIS G. PANTAZIS, being duly sworn, do hereby swear and affirm under penalty

of perjury that the contents of this Affidavit are true and correct to the best of my knowledge,

of

Dennis G. Pantazis

information, and belief.

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Sworn to and subscribed before me this day of 2022, in Alabama.

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RESPECTFULLY SUBMITTED,
Date: August 18, 2022 /s/ Dennis G. Pantazis

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Case 1:19-cv-00012-GBD-SN Document 279 Filed 08/24/22 Page 6of6

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Valinotti, Individually; Olga Valinotti, as Co-
Executor of the Estate of Leon Economos;
Constance Finnicum; George Gabrielle a/k/a Gabe
Gabrielle; Mary Ellen Murach, Individually; Mary
Ellen Murach, as Executor of the Estate of Edward
John Murach, Richard J. Murach; and Katharine
Tynion
